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                                   IN T H EUNITED S T A T E S D I S T R I C T                 COURT
                                   F O R T H E NORTHERN DISTISCTTOT TEXAS
                                                     FOR I WORTH DIVISION

C O T Y M I T C H E L L AND                                             §
CLYDELYNN M I T C H E L L                                               §
                                                                        §
           Plaintiffs,                                                  §
                                                                        §
V.
                                                                                        No.
                                                                        §
                                                                        §
STATE F A R M LLOYDS AND                                                §                 JURY DEMAND
L A U R I N LINSON                                                      §
                                                                        §
            Defendants.

                   DEFENDANT STATE F A R M L L O Y D S ' NOTICE O F R E M O V A L

TO THE HONORABLE COURT:

           Pursuant to 28 U.S.C. §§ 1441 and 1446, State Farm Lloyds ("State Farm" or

"Defendant") files this Notice of Removal to the United States District Court for the Northern

District of Texas, Fort Worth Division, on the basis of diversity of citizenship and amount in

controversy and respectfully shows:

                                                             I.
                                      F A C T U A L AND PROCEDURAL BACKGROUND

            1.         On February 9, 2015,                       Plaintiffs Coty Mitchell and Clydelynn Mitchell

("Plaintiffs") filed their Original Petition in the matter styled Coty Mitchell and Clydelynn

Mitchell v. State Farm Lloyds and Laurin Linson, Cause No. 096-276812-15, in the 96th Judicial

District Court of Tarrant County, Texas. The lawsuit arises out of a claim Plaintiffs made for

damages to their home under a homeowner's insurance policy with State Farm.

           2.          Plaintiffs served State Farm with a copy of the Original Petition on or about

February 18, 2015. Upon information and belief, Defendant Laurin Linson has not been served.




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           3.         State Farm files this notice of removal within 30 days of receiving Plaintiffs'

pleading. See 28 "U.S.C. § 1446(b). In addition, this Notice of Removal is being filed within one

year of the commencement of this action.

           4.         A l l pleadings, process, orders, and other filings in the state court action are

attached to this Notice as required by 28 U.S.C. § 1446(a).                        A copy of this Notice is also

concurrently being filed with the state court and served upon the Plaintiffs.

           5.         As required by 28 U.S.C. § 1446(a) and Rule 81.1 of the Local Rules,

simultaneously with the filing of this notice of removal, attached hereto as Exhibit " A " is an

Index of State Court Documents. Attached as Exhibit " B " is a copy of the Docket Sheet. A copy

of Plaintiffs' Original Petition is attached here to as Exhibit "C," and a copy of the citation to

Laurin Linson is attached as Exhibit "D." The citation to State Farm is attached as Exhibit "E,"

and State Farm's Answer is attached as Exhibit "F." Finally, State Farm's Certificate of

Interested Persons is attached as Exhibit "G."

           6.         Venue is proper in this Court under 28 U.S.C. §1441 (a) because this district and

division embrace Tarrant County, Texas, the place where the removed action has been pending

and where the incident giving rise to this lawsuit took place.

                                                                     II.

                                                   BASIS FOR R E M O V A L

           7.         Removal is proper based on diversity of citizenship under 28 U.S.C. §§ 1332(a),

1441(a) and 1446.

A.         The Proper Parties Are O f Diverse Citizenship.

           8.         Plaintiffs are, and were at the time the lawsuit was filed, residents and citizens of

Texas. See Pis.' Original Pet, Exhibit C, Pg. 1.



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           9.         Defendant State Farm is, and was at the time the lawsuit was filed, a citizen of the

states of Illinois, Colorado and Pennsylvania. State Farm is a "Lloyd's Plan" organized under

Chapter 941 of the Texas Insurance Code. It consists of an association of underwriters, each of

whom, at the time this action was commenced were, and still are. citizens and residents of the

states of Illinois. Colorado and Pennsylvania. Therefore, State Farm is a citizen and resident of

the states of Illinois, Colorado and Pennsylvania for diversity purposes. Royal Ins. Co. v. Quinn-

L Capital Corp., 3 F.3d 877, 882 (5th Cir. 1993); Massey v. State Farm Lloyd's Ins. Co., 993 F.

Supp. 568, 570 (S.D. Tex. 1998) ("the citizenship of State Farm Lloyds must be determined

solely by the citizenship of its members, or underwriters."); Rappaport v. State Farm                  Lloyd's,

1998 WL 249211 (N.D. Tex. 1998) (finding that State Farm Lloyds is an unincorporated

association whose members are completely diverse with Plaintiff, and denying remand).

           10.        Upon information and belief, Defendant Linson is, and was at the time the lawsuit

was filed, a resident and citizen of the State of Texas. With respect to the claims against Linson,

it is State Farm's position that Linson has been fraudulently joined in this action. Therefore, the

Texas citizenship of Linson should be disregarded for the purposes of evaluating diversity in this

matter.

           11.        When fraudulent joinder is asserted, the Court must "pierce the pleadings" to

determine whether a cause of action grounded in fact exists. Carriere v. Sears, Roebuck & Co.,

893 F.2d 98, 100 (5th Cir. 1990), cert, denied, 498 U.S. 817 (1990). The failure to specify a

legal and factual basis for a claim against a non-diverse party constitutes a failure to state a claim

and results in fraudulent joinder of that party. Waters v. State Farm Mut. Auto. Ins. Co., 158

F.R.D. 107, 109 (S.D. Tex. 1994).




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            12.         Based on Plaintiffs' pleading, there is no basis for predicting that Plaintiffs might

be able to establish liability against Linson because no real facts relating to Linson have been set

forth. Plaintiffs' claims against Linson consist merely of labels, conclusions, and formulaic

recitations of the elements of causes of action. See Bell Atlantic Corp. v. Twombly, 550 U.S.

554, 127 S. Ct. 1955, 1964-65. 167 L.Ed.2d 929. 940 (2007); see also Ashcroft v Iqbal, 556 U.S.

662, 129 S. Ct. 1937, 1945. 173 L.Ed.2d 868 (2009). As such. Plaintiffs cannot "establish a

cause of action against [Linson] in state court." Travis v. Irby, 326 F.3d 644, 647 (5th Cir. 2003)

                                                                                           th
(citing Griggs v. State Farm Lloyds, 181 F.3d 694, 698 (5 Cir. 1999)); see also TAJ Properties,

LLC v. Zurich American Ins. Co., Civil Action No. 11-10-2512, 2010 WL 4923473 at *2 (S.D.

Tex. Nov. 29, 2010) (Werlein, J.). Plaintiffs' counsel is simply pleading allegations with the

intent of trying to prevent removal to federal court. Linson's presence should be disregarded in

determining diversity jurisdiction.

            13.         Because Plaintiffs are citizens of Texas and Defendant State Farm is a citizen of

Illinois, Colorado and Pennsylvania, complete diversity of citizenship exists among the proper

parties.

B.          The Amount in Controversy Exceeds $75,000.00.

            14.         This is a civil action in which the amount in controversy exceeds $75,000.00.

Plaintiffs' Petition expressly alleges that "Plaintiffs seek monetary relief over $100,000.00 but

not more than $200,000.00." See Exhibit C, § VIII. Thus, the express allegations in the Petition

exceed the amount in controversy threshold of $75,000.00.




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                                                         III.
                                                 CONCLUSION & P R A Y E R

            15.       All requirements are met for removal under 28 U.S.C. §§ 1332 and 1441.

Accordingly, Stale Farm hereby removes this case to this Court for trial and determination.



                                                                  Respectfully submitted,

                                                                  I si Rhonda J. Thompson
                                                                  Rhonda J. Thompson
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                                                                  Courtney C. Kasper
                                                                  State Bar No.: 24078771

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                                                                  COUNSEL FOR DEFENDANT
                                                                  STATE F A R M LLOYDS


                                               CERTIFICATE OF S E R V I C E

       This is to certify that on the 11th day of March, 2015, a true and correct copy of the
foregoing was delivered to the following counsel of record by electronic service and/or facsimile
transmission and/or certified mail, return receipt requested:

           Jacey Hornecker
           Speights & Worrich
           1350 North Loop 1604, East 104
           San Antonio, Texas 78232
                  Counsel for Plaintiffs

                                                                 I si Rhonda J. Thompson
                                                                 Rhonda J. Thompson




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